Case 1:20-cv-04438-DLC Document 64-5 Filed 12/01/20 Page 1 of 7




                    Exhibit no. 5
     Articles 9, 10, 19 of Law no. 28/67
               of May 9, 1967
        Case 1:20-cv-04438-DLC Document 64-5 Filed 12/01/20 Page 2 of 7




Articles 9, 10, 19 of Law no. 28/67 of May 9, 1967

Article 9:

The Commission’s task is to verify, taking each bank separately, the proper implementation of
bank’s regulations provided for under Title III of the Code of Money and Credit, in conformity
with the rules defined in Articles 149 and 150 of the said Code.

The Commission shall carry out periodical verifications for all banks, without complying, if it
should deem it necessary, with the provisions of paragraphs 1 and 2 of Article 149 of the
aforementioned Code.

The Commission shall perform the supervisory powers granted to the Governor of the Central
Bank and to the Central Bank by the Code of Money and Credit, as well as the powers granted to
it by the present law.

The Commission may establish for each bank a program designed to improve its position and
reduce its overheads, and recommend its application by the bank.

Article 10:

A Higher Banking Commission is established at the Central Bank and is composed as follows:

   -   The Governor of the Central Bank, Chairman.
   -   One of the vice-governors designated by the Central Bank Board.
   -   The Director-General of the Ministry of Finance.
   -   A magistrate with at least ten years’ practice, appointed by decree following the approval
       of the Higher Council of Magistrates.
   -   The member appointed to the Banking Control Commission upon the proposal of the
       Lebanese Banks’ Association.

The Chairman of the National Deposits Guarantee Establishment, set up by the present law, shall
join the Commission, once the said Establishment is created.

This Commission shall replace the Sanctions Commission referred to under Article 209 of the
Code of Money and Credit, and it shall apply, if need be, the sanctions provided for in Article
208 of the said Code and shall exercise the prerogatives vested in it by virtue of such Code.

The Banking Control Commission must inform the Governor of the Central Bank of the situation
of banks individually and globally. The Higher Banking Commission may also require from the
Commission additional information concerning the matters that are submitted to its
consideration.
        Case 1:20-cv-04438-DLC Document 64-5 Filed 12/01/20 Page 3 of 7




The Higher Banking Commission meets upon the invitation of its Chairman or upon the request
of two of its members. Its meetings are not legal unless at least four of its members are in
attendance.

The Commission’s resolutions are passed by a majority of at least three votes. In the event of a
tie, the Chairman shall have a casting vote.

Article 19:

The Central Bank may set the maximum rate of interest which banks shall be authorized to pay
on deposits. If depositors receive interest in excess of such maximum rate, their deposits shall
not be deemed covered by the guarantee.

As for the infringing bank, it shall be liable by virtue of Article 209 of the Code of Money and
Credit, to one of the sanctions listed in Article 208 of the said Code, as well as to a fine from
5,000 to 25,000 Lebanese Pounds.
Case 1:20-cv-04438-DLC Document 64-5 Filed 12/01/20 Page 4 of 7
Case 1:20-cv-04438-DLC Document 64-5 Filed 12/01/20 Page 5 of 7
Case 1:20-cv-04438-DLC Document 64-5 Filed 12/01/20 Page 6 of 7
Case 1:20-cv-04438-DLC Document 64-5 Filed 12/01/20 Page 7 of 7
